Case 2:05-cr-20086-SH|\/| Document 23 Filed 07/12/05 Page 1 of 2 Page|D 19

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IN THE UNITED sTATEs DISTRICT COURT 05 JuL 13 ph 3, 5a
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIvISION amf US U@N€g%m
i`l-;, igning
UNITED STATES OF AMERICA,
Plaintiff, Case No. 05-20086 D V

VS.

JUAN L. CHAVEZ,

Defendant.

 

ORDER OF TRANSFER

 

The above-styled case is hereby transferred to Judge Samuel H. Mays, Jr., in exchange for
USA v. Ariane Grant, Case No. 05-20073 MaV. The parties shall, on all pleadings and
correspondence related to this matter, change the judge’s initials in the case number from 05-20086

D V to 05-20086 MaV.

I'l` IS SO ORDERED this lQ.» day of %¢H 2005.

CE BOUIE DONALD
TED STATES DISTRICT IUDGE

  
 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 23 in
case 2:05-CR-20086 Was distributed by faX, mail, or direct printing on
July l3, 2005 to the parties listed.

 

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Honorable Bernice Donald
US DISTRICT COURT

